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                      UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

NAZZARENO MIFSUD,                             )
                                              )
         Plaintiff,                           )
                                              )
v.                                            )   Case No. CIV-21-912-G
                                              )
GRAY MEDIA GROUP, INC., d/b/a                 )
KSWO TV, a foreign business entity,           )
                                              )
         Defendant.                           )

                                           ORDER

           This matter is hereby referred to United States Magistrate Judge Shon T. Erwin

     for a settlement conference pursuant to LCvR 16.2.

           IT IS SO ORDERED this 14th day of June, 2022.
